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 6                                UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF NEVADA
 8    UNITED STATES OF AMERICA,                         )
                                                        )
 9                          Plaintiff,                  )
                                                        )
10            v.                                        )          2:08-CR-164-KJD (GWF)
                                                        )
11    DEONTE REED,                                      )
      LEONARD JACKSON,                                  )
12    STEVEN GOLDEN, and                                )
      JUSTIN SPENTZ,                                    )
13                                                      )
                                                        )
14                          Defendants.                 )
15                                  FINAL ORDER OF FORFEITURE
16            On March 12, 2010, the United States District Court for the District of Nevada entered a
17    Preliminary Order of Forfeiture pursuant to Title 18, United States Code, Section 924(d)(1) and (3)
18    and Title 28, United States Code, Section 2461(c), based upon the jury verdict finding defendant
19    DEONTE REED guilty of certain criminal offenses, forfeiting specific property alleged in the
20    Criminal Indictment and shown by the United States to have a requisite nexus to the offenses to which
21    defendant DEONTE REED was found guilty.
22            On March 31, 2010, the United States District Court for the District of Nevada entered a
23    Preliminary Order of Forfeiture pursuant to Title 18, United States Code, Section 924(d)(1) and (3)
24    and Title 28, United States Code, Section 2461(c), based upon the jury verdict finding defendant
25    LEONARD JACKSON guilty of certain criminal offenses, forfeiting specific property alleged in the
26    ...
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 1    Criminal Indictment and shown by the United States to have a requisite nexus to the offenses to which
 2    defendant LEONARD JACKSON was found guilty.
 3             On April 12, 2010, the United States District Court for the District of Nevada entered a
 4    Preliminary Order of Forfeiture pursuant to Title 18, United States Code, Section 924(d)(1) and (3)
 5    and Title 28, United States Code, Section 2461(c), based upon the jury verdict finding defendant
 6    STEVEN GOLDEN guilty of certain criminal offenses, forfeiting specific property alleged in the
 7    Criminal Indictment and shown by the United States to have a requisite nexus to the offenses to which
 8    defendant STEVEN GOLDEN was found guilty.
 9             On March 24, 2010, the United States District Court for the District of Nevada entered a
10    Preliminary Order of Forfeiture pursuant to Title 18, United States Code, Section 924(d)(1) and (3)
11    and Title 28, United States Code, Section 2461(c), based upon the jury verdict finding defendant
12    JUSTIN SPENTZ guilty of certain criminal offenses, forfeiting specific property alleged in the
13    Criminal Indictment and shown by the United States to have a requisite nexus to the offenses to which
14    defendant JUSTIN SPENTZ was found guilty.
15             This Court finds the United States of America published the notice of the forfeiture in
16    accordance with the law via the official government internet forfeiture site, www.forfeiture.gov,
17    consecutively from April 21, 2010 through May 20, 2010, notifying all known third parties of their
18    right to petition the Court.
19             This Court finds no petition was filed herein by or on behalf of any person or entity and the
20    time for filing such petitions and claims has expired.
21             This Court finds no petitions are pending with regard to the assets named herein and the time
22    for presenting such petitions has expired.
23             THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,
24    title, and interest in the property hereinafter described is condemned, forfeited, and vested in the
25    United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.
26    32.2(c)(2); Title 18, United States Code, Section 924(d)(1) and (3) and Title 28, United States Code,

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 1    Section 2461(c); and Title 21, United States Code, Section 853(n)(7) and shall be disposed of
 2    according to law:
 3                   (a)     a Glock Model GMBH 9mm Pistol, serial number LXL501;
 4                   (b)     32 rounds of assorted 9mm ammunition; and
 5                   (c)     a Taurus Model PT145PRO .45 caliber Pistol, serial number NZH79095, and
 6                           any and all ammunition.
 7            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited
 8    funds, including but not limited to, currency, currency equivalents, certificates of deposit, as well as
 9    any income derived as a result of the United States of America’s management of any property
10    forfeited herein, and the proceeds from the sale of any forfeited property shall be disposed of
11    according to law.
12            The Clerk is hereby directed to send copies of this Order to all counsel of record and three
13    certified copies to the United States Attorney’s Office.
14                          9
              DATED this _________         July _______, 201
                                   day of _______________,   100..
                                                           2010.
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16                                                   UNITED STATES DISTRICT JUDGE
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 1                                        PROOF OF SERVICE
 2           I, Alexandra M. McWhorter, certify that the following individuals were served with
 3    copies of the Final Order of Forfeiture on July 7, 2010 by the below identified method of service:
 4           E-mail/ECF
 5           Jess R. Marchese
             815 South Casino Center Boulevard
 6           Las Vegas, NV 89101
             Email: marcheslaw@man.com
 7           Counsel for Deonte Reed
 8           Beau Sterling
             Sterling Law, LLC
 9           228 South Fourth Street
             Las Vegas, NV 89101
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             Counsel for Leonard Jackson
11

12           Benjamin C. Durham
             330 E. Charleston Boulevard, Suite 204
13           Las Vegas, NV 89104
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14           Counsel for Steven Golden
15           Mario D. Valencia
             Mario D. Valencia, Law Office Of
16           1055 Whitney Ranch Drive, Suite 220
             Henderson, NV 89014
17           Email: mario_valencia@cox.net
             Counsel for Justin Spentz
18

19                                                 /s/AlexandraMMcWhorter
                                                  ALEXANDRA M. MCWHORTER
20                                                Forfeiture Support Associate Paralegal
21

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23

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